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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                             Hon. Janet T. Neff
 v.
                                                             Case No. 1:20-cr-00156
 DWAYNE DESHAUN PARKS,

       Defendant.
 ________________________________/

                             ORDER OF DETENTION

        This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a three-count Indictment.              Count 1

charges him with conspiracy to distribute and possession with intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1); counts 2 and 3

charge defendant with possession with intent to distribute methamphetamine, in

violation 21 U.S.C. § 841(a)(1). Given the nature of the charges, there is a statutory

rebuttable presumption in favor of detention.

        The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a significant risk of flight,

18 U.S.C. § 3142(f)(2)(A).   The Court conducted a hearing on November 5, 2020, at

which defendant was represented by counsel.

        Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the statutory
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presumption of detention as to danger to the community and significant risk of flight.

The Court also finds, however, as explained on the record, that the government has

met its burden by preponderant evidence that defendant poses a significant risk of

flight and by clear and convincing evidence that he poses a danger to the community.

The Court further finds that there is no condition or combination of conditions that

will ensure the appearance of defendant and the safety of the community.

Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on November 5, 2020.


                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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